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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI
                           EASTERN DIVISION

AUNHK RA AUNHKHOTEP,          )
                              )
           Plaintiff,         )
                              )
        v.                    )                      Case No. 4:23 CV 540 RWS
                              )
OFFICER JOSEPH KOPFENSTEINER, )
et al.,                       )
                              )
           Defendants.        )

                        MEMORANDUM AND ORDER

      With the consent of the plaintiff,

      IT IS HEREBY ORDERED that defendants’ motion to amend the case

management order [56] is granted as follows: defendants shall file their opposition

to plaintiff’s motion for summary judgment [49] by no later than July 9, 2024, and

plaintiff may file any reply brief in support of his motion for summary judgment

by no later than July 29, 2024.


                                           RODNEY W. SIPPEL
                                           UNITED STATES DISTRICT JUDGE

Dated this 21st day of June, 2024.
